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                                                                               19


                                                                                         Apr 22, 2021
                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                21-20242-CR-ALTONAGA/TORRES
                             CASE NO.
                                          ----------
                                          18 u.s.c.   § 371
                                          21 U.S.C.   § 33l(a)
                                          21 U.S.C.   § 331(d)
                                          21 U.S.C.   § 333(a)(2)
                                          18 u.s.c.   § 401(3)

   UNITED STATES OF AMERICA

   vs.

   MARK SCOTT GRENON,
   JONATHAN DAVID GRENON,
   JORDAN PAUL GRENON, and
   JOSEPH TIMOTHY GRENON,

                  Defendants.
  - - - - - - - - - - - - -I
                                          INDICTMENT

          The Grand Jury charges that:

                                  GENERAL ALLEGATIONS

          At all times relevant to this Indictment:

                                     Regulatory Framework

          1.     The United States Food and Drug Administration ("FDA") was the federal

   agency charged with the responsibility of protecting the health and safety of the American

   public by assuring, among other things, that drugs marketed and distributed to the American

   public were safe and effective. The FDA's responsibilities included enforcing the Federal

   Food, Drug and Cosmetic Act, 21 U.S.C. § 301 et seq. ("FDCA"), and regulating the
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   manufacture, labels, labeling, and distribution of all drugs shipped or received in interstate

   commerce.

          2.      Under the FDCA, a "drug" was defined to include, among other things: articles

   that were intended for use in the diagnosis, cure, mitigation, treatment, or prevention of

   disease in humans, 21 U.S.C. § 32l(g)(l)(B); articles (other than food) intended to affect the

   structure or any function of the body ofhumans, 21 U.S.C. § 32l(g)(l)(C); or articles intended

   for use as components of other drugs, 21 U.S.C. § 321(g)(l)(D).

          3.      The "intended use" of a drug meant the objective intent of the persons legally

   responsible for the labeling of that product. The intent was determined by such persons'

   expressions, the circumstances surrounding the distribution of the article, labeling claims,

   advertising matter, or oral or written statements by such persons or their representatives. 21

   C.F.R. § 201.128.

          4.      Under the FDCA, "labeling" was defined as "all labels and other written,

   printed, or graphic matter (1) upon any article or any of its containers or wrappers, or

   (2) accompanying such article," 21 U.S.C. § 32l(m); and "label" was defined as "a display of

   written, printed, or graphic matter upon the immediate container of any article," 21 U.S.C.

   § 32l(k).

          5.      Under the FDCA, a "new drug" was defined as any drug "the composition of

   which is such that such drug is not generally recognized, among experts qualified by scientific

   training and experience to evaluate the safety and effectiveness of drugs, as safe and effective

   for use under the conditions prescribed, recommended, or suggested in the labeling thereof."

   21 U.S.C. § 32l(p)(l).




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           6.     Under the FDCA, a drug that was a "new drug" could not be lawfully

   introduced or delivered for introduction into interstate commerce, unless the FDA had

   approved a new drug application or an abbreviated new drug application with respect to such

   drug, or such drug was exempt from approval pursuant to an effective investigational new

   drug application. 21 U.S.C. §§ 33l(d) & 355(a), (b), (i), & G).

           7.     "Adequate directions for use" meant directions under which a layperson could

   use a drug safely for the purposes for which it was intended. 21 C.F.R. § 201.5.

           8.     Under the FDCA, a "prescription drug" was any drug intended for use in

   humans that, because of its toxicity or other potentiality for harmful effect, or the method of

   its use, or the collateral measures necessary for its use, was not safe for use except under the

   supervision of a practitioner licensed by law to administer such drug, or was limited by an

   approved application under section 21 U.S.C. § 355 for use under the professional supervision

   of a practitioner licensed by law to administer such drug. 21 U.S.C. § 353(b)(l).

          9.      Because a prescription drug, by definition, was safe for use only under the

   supervision of a licensed practitioner, there were no directions that could enable a layperson

   to use a prescription drug safely. Therefore, adequate directions for use could not be written

   for a prescription drug.

           10.    Under the FDCA, upon first engagmg m the manufacture, preparation,

   propagation, compounding, or processing of a drug, every person was required to immediately

   register with the FDA such person's name, places of business, all such establishments owned.

   or operated by such person, the unique facility identifier of each such establishment, and a

   point of contact email address: 21 U.S.C. §§ 360(b)(l) & (c).




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          11.     Under the FDCA, the terms "manufacture, preparation, propagation,

   compounding, or processing" included repackaging or otherwise changing the container,

   wrapper, or labeling of any drug package in furtherance of the distribution of the drug from

   the original place of manufacture to the person who makes final delivery or sale to the ultimate

   consumer. 21 U.S.C. § 360(a)(l).

          12.     The FDCA prohibited the introduction or delivery for introduction into

   interstate commerce, or the causing thereof, of any "new drug" that was neither approved by

   the FDA nor exempt from approval. 21 U.S.C. §§ 33 l(d) & 355(a).

          13.     The FDCA also prohibited the introduction or delivery for introduction into

   interstate commerce, or the causing thereof, of any drug that was misbranded. 21 U.S.C.

   §33l(a).

          14.     A drug was misbranded if, among other things:

                  a. its labeling failed to bear "adequate directions for use," 21 U.S.C.

                         § 352(±)(1); or

                  b. it was manufactured, prepared, propagated, compounded, or processed in

                         an establishment in any State not duly registered with the FDA, 21 U.S.C.

                         § 352(0).

                                               The Drug

          15.     Miracle Mineral Solution ("MMS") was a liquid solution containing sodium

   chlorite and water.

          16.     When MMS was mixed with an acidic activator, as directed by the defendants,

   the resulting chemical reaction produced chlorine dioxide.




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           17.    Chlorine dioxide was a powerful bleaching agent typically used for bleaching

   and stripping textiles, pulp, and paper. Chlorine dioxide was also used in industrial water

   treatment, because it was a disinfectant, capable of killing pathogenic microorganisms such

   as fungi, bacteria, and viruses.

           18.    MMS was a "drug" within the meaning of21 U.S.C. § 321(g)(l).

           19.    MMS was a "new drug" within the meaning of 21 U.S.C. § 321(p)(l).

          20.     MMS was a "prescription drug" within the meaning of21 U.S.C. § 353(b)(l).

          21.     MMS was not approved by the FDA for any use, nor was it exempt from FDA

   approval.

                              The Defendants and Co-Conspirator 1

          22.     MARK SCOTT GRENON manufactured, promoted, sold, and distributed

   MMS to the American public. GRENON was also the leader of Genesis II Church of Health

   and Healing (''Genesis"), an explicitly non-religious entity that GRENON co-founded in or

   around April 2010.

          23.     JONATHAN DAVID GRENON was a member of Genesis, and he assisted

   MARK SCOTT GRENON, who was his father, in the manufacture, promotion, sale, and

   distribution of MMS.

          24'.    JORDAN PAUL GRENON was a member of Genesis, and he assisted

   MARK SCOTT GRENON, who was his father, in the manufacture, promotion, sale, and

   distribution of MMS.

          25.     JOSEPH TIMOTHY GRENON was a member of Genesis, and he assisted

   MARK SCOTT GRENON, who was his father, in the manufacture, promotion, sale, and

   distribution ofMMS.



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          26.       Co-Conspirator 1 co-founded Genesis with MARK SCOTT GRENON and

   promoted MMS to the American public for the cure, mitigation, treatment, and prevention of

   a variety of diseases.

                                 Prior Civil Enforcement Action

          27.      On or about April 16, 2020, the United States filed a civil complaint in the

   United States District Court for the Southern District of Florida, against MARK SCOTT

   GRENON, JONATHAN DAVID GRENON, JORDAN PAUL GRENON, JOSEPH

   TIMOTHY GRENON, and Genesis, seeking a preliminary injunction and a permanent

   injunction to enjoin the defendants from violating the FDCA. See United States v. Genesis JI

   Church of Health and Healing, et al., Case No. 20-21601-CV-WILLIAMS, ECF Nos. 1, 3.

          28.      On or about April 17, 2020, United States District Judge Kathleen M. Williams

   issued a Temporary Restraining Order against MARK SCOTT GRENON, JONATHAN

   DAVID GRENON, JORDAN PAUL GRENON, JOSEPH TIMOTHY GRENON, and

   Genesis.     That Temporary Restraining Order, inter alia, prohibited the defendants from

   "directly or indirectly, label[ing], hold[ing], and/or distribut[ing] any [unapproved or

   misbranded] drug, including but not limited to MMS .... " See United States v. Genesis JI

   Church ofHealth and Healing, et al., Case No. 20-21601-CV-WILLIAMS, ECF No. 4 at 3.

          29.      On or about May 1, 2020, United States District Judge Kathleen M. Williams

   issued an Order of Preliminary Injunction against MARK SCOTT GRENON, JONATHAN

   DAVID GRENON, JORDAN PAUL GRENON, JOSEPH TIMOTHY GRENON, and

   Genesis. As with the Temporary Restraining Order that preceded it, that Order of Preliminary

   Injunction, inter alia, prohibited the defendants from "directly or indirectly, label[ing],

  hold[ing], and/or distribut[ing] any [unapproved or misbranded] drug, including but not



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   limited to MMS .... " See United States v. Genesis II Church ofHealth and Healing, et al.,

   Case No. 20-21601-CV-WILLIAMS, ECF No. 26 at 8.

                                         COUNTl
          Conspiracy to Defraud and to Commit Offenses Against the United States
                                     (18 u.s.c. § 371)

          1.      Paragraphs 1 through 29 of the General Allegations section of this Indictment

   are re-alleged and fully incorporated herein by reference.

          2.      From in or around April 2010, and continuing through on or about July 20,

   2020, in Miami-Dade and Broward Counties, in the Southern District of Florida, and

   elsewhere, the defendants,

                                  MARK SCOTT GRENON,
                                JONATHAN DAVID GRENON,
                                JORDAN PAUL GRENON, and
                                JOSEPH TIMOTHY GRENON,

   did knowingly and willfully combine, conspire, confederate, and agree with each other and

   with others known and unknown to the Grand Jury, to:

          (a)     defraud the United States and its agencies by impeding, impairing, obstructing,

   and defeating the lawful governmental functions of the FDA to protect the health and safety

   of the American public by ensuring that drugs marketed and distributed to the American public

   were safe and effective for their intended uses;

          (b)     commit an offense against the United States, that is, with the intent to defraud

   and mislead, introducing and delivering for introduction into interstate commerce, and causing

   to be introduced and delivered for introduction into interstate commerce, a new drug, to wit,

   MMS, that did not have in effect an approval of an application filed pursuant to Title 21,

   United States Code, Sections 355(b) and G), and was not exempted from such approval




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   pursuant to Title 21, United States Code, Section 355(i), in violation of Title 21, United States

   Code, Sections 331(d), 355(a), and 333(a)(2); and

          (c)     commit an offense against the United States, that is, with the intent to defraud

   and mislead, introducing and delivering for introduction into interstate commerce, and causing

   to be introduced and delivered for introduction into interstate commerce, a drug, to wit, MMS,

   that was misbranded as defined by Title 21, United States Code, Sections 352(f)(l) and (o),

   in violation of Title 21, United States Code, Sections 33 l(a) and 333(a)(2).

                              PURPOSE OF THE CONSPIRACY

          3.      It was the purpose of the conspiracy for the defendants and their co-

   conspirators to evade government regulation of MMS, and to unlawfully manufacture,

   promote, sell, and distribute MMS to consumers.

                      MANNER AND MEANS OF THE CONSPIRACY

          The manner and means by which the defendants and their co-conspirators sought to

   accomplish the objects and purpose of the conspiracy included, among others, the following:

          4.      MARK SCOTT GRENON and his sons, JONATHAN DAVID GRENON,

   JORDAN PAUL GRENON, and JOSEPH TIMOTHY GRENON, manufactured,

   promoted, sold, and distributed MMS.

          5.      MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

   PAUL GRENON, and JOSEPH TIMOTHY GRENON claimed that MMS could be used

   to treat, prevent, and cure a variety of serious diseases and disorders, including cancer,

   Alzheimer's, diabetes, autism, malaria, hepatitis, Parkinson's, herpes, HIV/AIDS, and, more

   recently, novel coronavirus disease 2019, also known as COVID-19 (hereinafter,

   "Coronavirus").



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          6.       MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

   PAUL GRENON, and JOSEPH TIMOTHY GRENON knew that MMS had not been

   approved by the FDA for any use, and that their actions in manufacturing, promoting, selling,

   and distributing MMS to consumers as a miracle cure-all were unlawful.

          7.       MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

   PAUL GRENON, and JOSEPH TIMOTHY GRENON manufactured, promoted, sold, and

   distributed MMS under the guise of Genesis II Church of Health and Healing, an explicitly

   non-religious entity that MARK SCOTT GRENON and Co-Conspirator 1 founded in an

   attempt to evade government regulation of MMS and shield themselves from prosecution.

          8.       MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

   PAUL GRENON, and JOSEPH TIMOTHY GRENON rejected the authority of the

   government to regulate MMS, defying government regulations and threatening individuals

   enforcing those regulations.

          9.       MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

   PAUL GRENON, JOSEPH TIMOTHY GRENON, and Co-Conspirator 1 created and

   maintained various Genesis-affiliated websites to promote and distribute MMS.          These

   websites     included www.genesis2church.ch,     www.genesis2church.is,     www.g2voice.is,

   www.g2sacraments.org, www.newg2sacraments.org, www.mmswiki.is, www.jimhumble.co,

   and mmstestimonials.co, among others.

          10.      At www.g2sacraments.org and www.newg2sacraments.org, websites which

   were created and maintained by MARK SCOTT GRENON, JONATHAN DAVID

   GRENON, JORDAN PAUL GRENON, and JOSEPH TIMOTHY GRENON, consumers
                                                                                               '

   could place online orders for MMS. Although these websites stated that MMS could be



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   acquired only through a "donation" to Genesis, the donation amounts for orders of MMS were

   set at specific dollar amounts, and were mandatory, such that the "donation" amounts were

   effectively just sales prices.

           11.     MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

   PAUL GRENON, and JOSEPH TIMOTHY GRENON manufactured MMS in the

   backyard of JONATHAN DAVID GRENON's home in Bradenton, Florida, an

   establishment that had not been duly registered with the FDA for the manufacture,

   preparation, propagation, compounding, or processing of a drug.

           12.     MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

   PAUL GRENON, and JOSEPH TIMOTHY GRENON distributed over 28,000 bottles of

   MMS to the American public, shipping MMS from Bradenton, Florida, to consumers all

   across the country, including consumers in other states and consumers in the Southern District

   of Florida.

           13.     As a result of their sales ofMMS, MARK SCOTT GRENON, JONATHAN

   DAVID GRENON, JORDAN PAUL GRENON, and JOSEPH TIMOTHY GRENON

   received more than one million dollars ($1,000,000).

                                          OVERT ACTS

          In furtherance of the conspiracy, and to achieve the purpose and objects thereof, at

   least one co-conspirator committed and caused to be committed, in Miami-Dade and Broward

   Counties, in the Southern District of Florida, and elsewhere, at least one of the following overt

   acts, among others:

           1.      In or around April 2010, MARK SCOTT GRENON and Co-Conspirator 1

   announced that they were forming a non-religious "church," called Genesis II Church of



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   Health and Healing, in order to cloak their unlawful distribution of MMS as protected religious

   exercise, and thereby attempt to evade government regulation ofMMS and shield themselves

   from future prosecution.

          2.         On or about November 13, 2014, MARK SCOTT GRENON registered the

   domain name, www.genesis2church.is.

          3.         On or about March 23, 2015, JORDAN PAUL GRENON registered the

   domain name, www.g2sacraments.org.

          4.         On or about December 16, 2015, MARK SCOTT GRENON registered the

   domain name, www.quantumleap.is.

          5.         In or around December 2015, MARK SCOTT GRENON disseminated a

   documentary titled, "Quantum Leap: The Global Healing Revolution," in which MARK

   SCOTT GRENON claimed that, using MMS, he had healed hundreds of thousands of people

   from cancer, HIV/AIDS, malaria, diabetes, Parkinson's, arthritis, and other serious diseases

   and disorders.

          6.         On or about August 12, 2016, MARK SCOTT GRENON registered the

   domain name, www.g2voice.is.

          7.         On or about July 25, 2017, JORDAN PAUL GRENON and JONATHAN

   DAVID GRENON caused one bottle of MMS to be mailed from Bradenton, Florida, to

   Davie, Florida.

          8.         On or about October 3, 2019, JORDAN PAUL GRENON and JONATHAN

   DAVID GRENON caused one bottle of MMS to be mailed from Bradenton, Florida, to

   Plantation, Florida.




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          9.      On or about November 20, 2019, JORDAN PAUL GRENON and

   JONATHAN DAVID GRENON caused one bottle ofMMS to be mailed from Bradenton,

   Florida, to Miami, Florida.

          10.     On or about March 3, 2020, MARK SCOTT GRENON sent an email to the

   subscribers of his newsletter in which MARK SCOTT GRENON claimed that MMS could

   cure Coronavirus. In this newsletter, MARK SCOTT GRENON provided detailed dosing

   instructions for using MMS to treat Coronavirus, with one set of dosing instructions for adults,

   and another set of dosing instructions for young children.

          1 I.    On or about March 8, 2020, MARK SCOTT GRENON and JOSEPH

   TIMOTHY GRENON disseminated a podcast titled, "The Coronavirus is curable! Do you

   believe it? You better!," in which MARK SCOTT GRENON arid JOSEPH TIMOTHY

   GRENON promoted MMS as a cure for Coronavirus.

          12.     On or about March 15, 2020, MARK SCOTT GRENON and JOSEPH

   TIMOTHY GRENON recorded a podcast titled, "The Controversial Healing Cure," in which

   MARK SCOTT GRENON and JOSEPH TIMOTHY GRENON promoted MMS as a cure

   for Coronavirus.

          13.     On or about March 18, 2020, JORDAN PAUL GRENON and JONATHAN

   DAVID GRENON caused one bottle of MMS to be mailed from Bradenton, Florida, to

   Atlanta, Georgia.

          All in violation of Title 18, United States Code, Section 371.




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                                        COUNT2
                     Criminal Contempt - Temporary Restraining Order
                                   (18 u.s.c. § 401(3))

          1.      Paragraphs 1 through 25 and 27 through 29 of the General Allegations section

   of this Indictment are re-alleged and fully incorporated herein by reference.

          2.      From on or about April 17, 2020, and continuing through on or about May 1,

   2020, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the

   defendants,

                                  MARK SCOTT GRENON,
                                JONATHAN DAVID GRENON,
                                JORDAN PAUL GRENON, and
                                JOSEPH TIMOTHY GRENON,

   did knowingly and willfully, and in disobedience and resistance to a lawful order and

   command of the United States District Court for the Southern District of Florida, that is, a

   Temporary Restraining Order issued in Miami, Florida, on or about April 17, 2020, in the case

   of United States v. Genesis II Church of Health and Healing, et al., Case No. 20-21601-CV-

   WILLIAMS, violate that Temporary Restraining Order, in that the defendants did directly and

   indirectly label, hold, and distribute an unapproved and misbranded drug, namely, MMS.

          In violation of Title 18, United States Code, Sections 401(3) and 2.

                                         COUNT3
                         Criminal Contempt - Preliminary Injunction
                                    (18 u.s.c. § 401(3))

          1.      Paragraphs 1 through 25 and 27 through 29 of the General Allegations section

   of this Indictment are re-alleged and fully incorporated herein by reference.

          2.      From on or about May 1, 2020, and continuing through on or about July 20,

   2020, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the

   defendants,


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                                  MARK SCOTT GRENON,
                               JONATHAN DAVID GRENON,
                               JORDAN PAUL GRENON, and
                               JOSEPH TIMOTHY GRENON,

   did knowingly and willfully, and in disobedience and resistance to a lawful order and

   command of the United States District Court for the Southern District of Florida, that is, a

   Preliminary Injunction issued in Miami, Florida, on or about May 1, 2020, in the case of

   United States v. Genesis II Church of Health and Healing, et al., Case No. 20-21601-CV-

   WILLIAMS, violate that Preliminary Injunction, in that the defendants did directly and

   indirectly label, hold, and distribute an unapproved and misbranded drug, namely, MMS.

          In violation of Title 18, United States Code, Sections 401(3) and 2.




                                                ATR



                                                FOREPERSO~




   MICHAEL B. HOMER
   ASSISTANT UNITED STATES ATTORNEY




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                                                   UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA.                                      CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 v.
                                                               CERTIFICATE OF TRIAL ATTORNEY*
MARK SCOTT GRENON, et al.,
                                                               Superseding Case Information:
                                  Defendants.

Court Division:   (Select One)·                                New defendant(s)           Yes         No
 ✓     Miami                   Key West                        Number of new defendants
       FTL                     WPB.             FTP            Total number of counts

        1.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.         I atn aware that the information supplied on this statement will be relied upon by the Judges of this
                   Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                   Act, Title 28 U.S.C. Section 3161.
        3.         Interpreter:    (Yes or No)            No
                   List language and/or dialect
        4.         This case will take _lQ_ days for the parties to try.
        5. ·       'Please check appropriate category and type of offense listed below:

                   (Check only one)                                   (Check only one)


        I          0 to J day~                                        Petty
        II         6 to 10 cl_ays                     ✓               Minor
       .III        l l t9 70 days                                     Misdem .
        IV         21 t_o 6Q.days                                     Felony              ✓

        V          61 days and over
       ·6;       Has this case previously been filed in this District Court?     (Yes or No) No
         If yes: Judge                                    · Case No.
         (Attach copy of dispositive order)                           --------------
               a
         Has complaint been filed in this matter?           (Yes or No)      Yes
         If:yes: Magistrate C~se No..                       20-03050-MJ-OTAZO-REYES
         Related miscellaneous numbers:
         Defendant(s) in federal custody as of              Julv 8. 2020
         Defendant(s).in state custody as of
         Rule 20 from the District of
      .. Is this a potential death penalty case? (Yes or No)

       7.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                                                                                                         1
                  prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No

       8;         Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                  prior to. August 8, 2014 (Mag. Judge Shaniek Maynard)?          Yes             No     1



      · 9.        Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                  prior to Qctober 3, 2019 (Mag. Judge Jared Strauss)?             Yes             No 1

      10.         Does this case originate from a matter pending in the Southern Region of the U.S. Attorney's Office
                  prior to November 23, 2020 (Judge Aileen M. Cannon)?             Yes ✓           No

                                                                           ~
                                                                       Michael B. Homer
                                                                       Assistant United States Attorney
*Penalty. Sheet(s) attached                                            Court ID A5502497
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

  Defendant's Name: MARK SCOTT GRENON

  Case No: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  Count#: 1

  Conspiracy

  Title 18, United States Code, Section 371

  *Max. Penalty: Five (5) Years' Imprisonment

  Counts #: 2-3

  Criminal Contempt

  Title 18, United States Code, Section 401 (3)

  *Max. Penalty: Life Imprisonment
   *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

   Defendant's Name: JONATHAN DAVID GRENON

  · Case No:
               ------------------------------
   Count#: 1

   Conspiracy

  Title 18, United States Code, Section 371

   *Max. Penalty: Five (5) Years' Imprisonment

   Counts #: 2-3

  Criminal Contempt

  Title 18, United States Code, Section 401 (3)

   *Max. Penalty: Life Imprisonment
    *Refers only to possible term of incarceration, does not include possible fines, restitution,
            special assessments, parole terms, or forfeitures that may be applicable.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENAL TY SHEET

  Defendant's Name: JORDAN PAUL GRENON

  Case No:
             ------------------------------
  Count#: 1

  Conspiracy

  Title 18, United States Code, Section 371

  *Max. Penalty: Five (5) Years' Imprisonment

  Counts#: 2-3

  Criminal Contempt

  Title 18, United States Code, Section 401(3)

  *Max. Penalty: Life Imprisonment
   *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

   Defendant's Name: JOSEPH TIMOTHY GRENON

   Case No:
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   Count#: 1

   Conspiracy

   Title 18, United States Code, Section 371

   *Max. Penalty: Five (5) Years' Imprisonment

   Counts-#: 2-3

   Criminal Contempt

   Title 18, United States Code, Section 401(3)

   *Max. Penalty: Life Imprisonment
    *Refers only to possible term of incarceration, does not include possible fines, restitution,
            special assessments, parole terms, or forfeitures that may be applicable.
